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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF FLORIDA

 

CASE NO.
STUART SOLOMONS,
Plaintiff,
v.
JORGE LEGRA and G. TRANSPORT,
INC.,
Defendant.
COMPLAINT

Plaintiff, STUART SOLOMONS, sues Defendants, JORGE LEGRA and G.

TRANSPORT, INC. and alleges:
JURISDICTION AND VENUE

1. This Court has jurisdiction pursuant to 28 U.S.C.A. § 1332(21) because the matter
in controversy exceeds the sum of Seventy-Five Thousand ($75,000.00) exclusive of interest and
costs and is between citizens of a state and citizens or subjects of a foreign state.

THE PARTIES

2. The Plaintiff is a citizen of the United Kingdom Whose permanent residence is
Ashley Bank, 285 Ashley Road, I-Iale, Cheshire WA 14 3NM, England.

3. The Defendant, JORGE LEGRA is a citizen of the State of Florida and resides at
13721 S.W. 173"°l Terrace, Miami, Florida 33177.

4. The Defcndant, G. TRANSPORT, INC. is a Florida corporation With a principal

place of business located at 7570 N.W. 14th Street, Suite 201, Miami, Florida 33178.

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COUNT I - NEGLIGENCE OF DEFENI]ANTS

5. On December lS, 2010, Defendant, G. TRANSPORT, INC. owned a 1995
Freightliner/Freightliner Sprinter Vehicle identification No. 1FUYDSYB7SH6453824.

6. On December 15, 2010, the vehicle was operated by Defendant, LEGRA, with the
consent of Defendant, G. TRANSPORT, INC, at or near the vicinity of Biscayne Blvd and N.E.
6““ street Miami, Fiorida.

7. At that time and place, Defendants negligently operated or maintained the motor
vehicle so that it collided with a bicycle operated by Plaintiff.

8. As a result of Defendants’ negligence, Plaintiff suffered bodily injury and
resulting pain, suffering, disability, distigurement, mental anguish, loss of capacity for the
enjoyment of life, expense of hospitalization, medical and nursing care and treatment, loss of
earnings, loss of ability to earn money and aggravation of a previously existing condition.

9. The losses are either permanent or continuing and Plaintiff will suffer losses in
the future.

l(). Plaintiff's bicycle was also destroyed by the accident

WHEREFORE, Plaintiff demands judgment for damages against the Defendant.

COUNT II - NEGLIGENCE AGAINST G-TRANSPORT
§BESPONDENT SUPERIOR: VICARIOUS LIABILIT![

ll. Plaintiffs re-allege the allegations contained in Paragraphs l-lO cf the Complaint
as if fully set forth herein.

12. At all times material hereto, JORGE LEGRA Was an employee and/or agent,
and/or joint employee, and/or estoppel employee, and/or joint venturer and/or logo employee of

Defendant, G-TRANSPORT, INC.

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13. On or about December 15, 2010, while acting within the course and scope of his
employment and/or as a joint employee and/or agent and/or joint venturer and/or logo employee
of Defendant, and with the consent of Defendant, negligently operated his motor vehicle so that
it collided with the bicycle being operated by Plaintiff, at or about Biscayne Boulevard and N.E.
6‘“ street Miemi, Fieriae.

l4. As a direct and proximate result of the foregoing negligence, Plaintiff suffered
bodily injury and resulting pain and suffering, disability, disfigurement, mental anguish, loss of
capacity for the enjoyment of life, hospitalization, medical and nursing care and treatment The
losses are either permanent or continuing and Plaintiff will suffer the losses in the future

15. As a further direct and proximate result of the foregoing, Plaintiff’s bicycle was
damaged

PRAYER FOR RELIEF

WHEREFORE, Plaintiff demands that judgment be entnered in his favor against
Defendant for all compensatory and other damages, costs, interest, and such other relief as is
necessary and proper.

COUNT III - NEGLIGENCE AGAINST G-TRANSPORT
(NEGLIGENT HIRING)

16. Plaintiffs re-allege the allegations contained in Paragraphs 1-15 of the Complaint
as if fully set forth herein.

17. Defendant had a duty, pursuant to, inter alia, 49 C.F.R. § 383.35 (concerning
employment history of person applying for employment as an operator of a motor vehicle), part
391; including specifically but not limited to § 391.23 (motor carrier’s duty to make

investigation and inquiries with respect to each driver it employs), and § 391.51 (regarding driver

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qualification files), § 391.53 (driver‘s investigation history file), to conduct an adequate
investigation or inquiry into the driving record and driving ability of JORGE LEGRA, including
but not limited to, his ability, iitness and qualifications to drive a motor vehicle in either
interstate or intrastate commerce

18. Defendant G. TRANSPORT also had a duty to exercise reasonable care in hiring.

19. At the times JORGE LEGRA Was hired as an employee and/or agent, and/or joint
employee, and/or estoppel employee, and/or joint venturer and/or logo employee by Defendant,
G. TRANSPORT, either knew, or in the exercise of reasonable care, should have known, of the
incompetence or unfitness of JORGE LEGRA to operate a motor vehicle in either interstate or
intrastate commerce.

20. As a result of Defendants breaches of its duties/negligence in conducting its
investigation and inquiry as to JORGE LEGRA’s fitness to operate a motor vehicle, JORGE
LEGRA was afforded the opportunity to operate a motor vehicle in a negligent manner, such that
it collided with Plaintiffs bicycle on or about December 15, 2010 at our about Biscayne
Beuievetti end N.E. 6*“ street Mtemt Fiertde.

21. As a direct and proximate result of the foregoing, Plaintiff suffered bodily injury
and resulting pain and suffering disability, disfigurement mental anguish, loss of capacity for
the enjoyment of life, expensive hospitalization, medical and nursing care and treatment and the
aggravation of a previously existing condition The losses are either permanent or continuing
and Plaintiff Will suffer the losses in the future.

22. As a further direct and proximate result of the foregoing, Plaintiff’s bicycle was

damaged

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PRAYER FOR RELIEF
WHEREFORE, Plaintiff demands that judgment be entered in his favor and against
Defendants, for all compensatory and other damages, costs, interest, and such other relief as is
necessary and proper.
DEMAND FOR TRIAL BY JURY
23. Plaintiff demands trial by jury for all claims so triable.

DATED this 2“" day efNevember, 2012.

BECKER & POLIAKOFF, P.A.
Attorneys for Plaintiff

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By /s/ Robert l. Rubin
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